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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS

  In re:
  TOP LINE GRANITE DESIGN INC.,            Ch. 11
    Debtor                                 22-40216-CJP


                                  SCHEDULING ORDER

THE REQUEST FOR EMERGENCY DETERMINATION OF THE DEBTOR'S MOTION FOR INTERIM
AND FINAL ORDERS (A) AUTHORIZING USE OF CASH COLLATERAL, (B) GRANTING
POST-PETITION REPLACEMENT LIENS AS ADEQUATE PROTECTION, AND (C) SCHEDULING A
FINAL HEARING [DKT. NO. 16] (THE "MOTION") IS GRANTED AS FOLLOWS.

A TELEPHONIC HEARING ON INTERIM USE OF CASH COLLATERAL IS SCHEDULED FOR APRIL 4,
2022 AT 11:00 A.M. TO PARTICIPATE, PARTIES SHALL DIAL (877) 873-8018 AND ENTER
ACCESS CODE 1167883. PRELIMINARY OBJECTIONS SHALL BE FILED BY 9:30 A.M. ON APRIL 4,
2022.

THE DEBTOR SHALL PROVIDE NOTICE OF THE HEARING BY TELEPHONE, E-MAIL, OR FAX TO
ALL SECURED CREDITORS, THE UNITED STATES TRUSTEE, THE SUBCHAPTER V TRUSTEE, THE
20 LARGEST UNSECURED CREDITORS, AND ANY OTHER PARTY THAT HAS APPEARED AND
REQUESTED NOTICE AND SHALL FILE A CERTIFICATE OF SERVICE WITH THE COURT
REGARDING THE SAME.

THE DEBTOR SHALL HAVE A REPRESENTATIVE OF THE DEBTOR KNOWLEDGEABLE ABOUT THE
FACTUAL ASSERTIONS MADE IN THE MOTION AVAILABLE AT THE HEARING.

Dated: 3/30/2022                           By the Court,




                                           Christopher J. Panos
                                           United States Bankruptcy Judge
